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          Exhibit 1
    Second Declaration of
       Suzanne Greene
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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

 SUZANNE GREENE,

            Plaintiff,

      vs.                                   Civil Action No. 1:19-cv-1338-AT

 TYLER TECHNOLOGIES, INC.,

            Defendant.

                   SECOND DECLARATION OF SUZANNE GREENE

1.   My name is Suzanne Greene. I am over the age of majority; suffer no legal

     disabilities and am a resident of Fayette County, Georgia. I have personal

     knowledge of the facts herein.

2.   My work for Tyler Technologies consisted primarily of training the

     employees of Tyler’s local government customers on how to use its

     ExecuTime time and pay software.

3.   The training materials I used in my training sessions were drafted by others

     and typically I filled in dates and other minor information like client names.

4.   I was responsible for troubleshooting issues that the customers encountered

     with the software. If the problem could be fixed by simply turning on or off

     a certain functionality of the software, I could fix the problem myself.


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      However, if a customer’s problem was at all technical, I would speak to my

      project manager about it, and s/he would then send the customer to the Tyler

      support group.

5.    Early in my employment, I attempted to send a ticket to the support group

      without going through my project manager, and because of that I was

      reprimanded by an implementation manager.

6.    At no point in my employment did I advise Tyler’s customers as to how they

      should operate.

7.    At no point in my employment did I have any authority to make any

      significant decisions beyond managing my own workload.

8.    At no point in my employment did I ever supervise anyone, hire or fire, or

      do purchasing or contracting.

9.    The decision whether a customer would have in-person trainings or remote

      trainings was made before I was brought in to work on a project.

10.   Deadlines in project plans were established before I became involved in a

      project.

11.   In any implementation, the project objectives were communicated to me by

      my supervising project manager and those objectives were contained in the

      project plan. That plan contained deadlines for when different categories of


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      individual customer employees (e.g., end users, super users) were supposed

      to complete their training.

12.   All deadlines and objectives were established before I became involved in a

      project.

13.   I typically communicated with my project manager on a daily basis either by

      phone or email, often several times a day.

14.   Because the entire implementation plan was established before I became

      involved, but there were rarely if ever any significant decisions remaining to

      be made by the customer.

15.   If a client appeared not to be meeting a deadline, I would communicate that

      to my project manager and the project manager would then work with the

      customer to determine whether and how to alter the schedule.

16.   I never made any recommendations to Tyler customers about the possibility

      of purchasing additional training hours.

17.   I would typically inform the project manager when a customer had a dozen

      or fewer purchased training hours remaining and then the project manager

      would make a decision about recommending additional training to the

      customer.




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18.   I was responsible for ensuring that the customer employees that I trained

      clearly understood what the project manager had already gone over with

      them and remind them of their objectives and milestones.

19.   I was responsible for delegating tasks (i.e., training activities) to the

      customer’s employees and reminding them of pre-established deadlines.

      When doing so, I was always merely reiterating what the project manager

      had already gone over with the customer.

20.   Weekly or bi-weekly client calls, which ranged from 30 minutes to an hour,

      took up approximately 20% of my typical workweek.

21.   At no point in my employment did I ever recommend that a customer have

      me come back on-site for additional training.

22.   I can recall only one instance in which a client requested additional on-site

      training—the City of Coppell, Texas—and when that occurred I directed the

      customer to my project manager.

23.   I cannot recall a single instance of ever making a recommendation to a

      customer about purchasing timeclocks. To my knowledge, that would be the

      job of Tyler salespeople and not implementation consultants.

24.   I never made any recommendations to customers about making any changes

      to their payroll practices.


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25.   I never made any recommendations to customers on how to manage their

      information databases and I did not analyze or inspect ExecuTime software

      for quality issues.

26.   I showed Tyler’s customers how to create the files in ExecuTime that they

      would need to then import into their payroll database.

27.   But it was the customer’s payroll vendor—sometimes another Tyler

      department, and sometimes not—who would show the customer how to do

      the actual importing and set up.

28.   During training sessions, I would use “dummy” information (e.g., names

      like “Jeff Hourly” and “Sally Supervisor”) to show the customers’

      employees how various types of information could be inputted into the

      ExecuTime software, and how to access its various functionalities. That

      means, essentially, that I would explain how to change the “settings” on the

      software so that it would do what the customer needed.

29.   Which functionalities the employees needed to understand how to access

      and use was based on specifications determined before I became involved in

      the implementation process.

30.   The video of a Hendersonville, TN, training session that was attached as an

      exhibit to my Motion for Summary Judgment is representative of a typical


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